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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X               1/12/2021
                                                                       :
CARLOS PEÑA CASTILLO and JOSE RENE ARIAS :
DUME, individually and on behalf of others similarly                   :
situated,                                                              :
                                                                       :      20-cv-2273 (LJL)
                                    Plaintiffs,                        :
                                                                       :          ORDER
                  -v-                                                  :
                                                                       :
DONA JUANA GROCERY STORE INC. (D/B/A                                   :
DONA JUANA), LOS COMPADRES 1 GROCERY                                   :
STORE INC. (D/B/A LOS COMPADRES GROCERY), :
JUAN MANUEL ORTIZ, JUAN SOTO, and                                      :
MERCEDES HERNANDEZ,                                                    :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

LEWIS J. LIMAN, United States District Judge:

       Parties are directed to appear for a post-discovery conference on January 21, 2021 at
11:00 a.m. The conference will proceed telephonically. Parties are directed to dial 888-251-
2909 and use access code 213101.

        SO ORDERED.


Dated: January 12, 2021                                    __________________________________
       New York, New York                                             LEWIS J. LIMAN
                                                                  United States District Judge
